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                 IN THE UNITED STATES BANKRUPTCY COURT
       FOR THE WESTERN DISTRICT OF PENNSYLVANIA (PITTSBURGH)
IN RE:                                               :
LAYTH F. ABDELQADER                                  : BK. No. 19-23045-JAD
                        Debtor                       :
                                                     : Chapter No. 7
LAKEVIEW LOAN SERVICING, LLC                         :
                        Movant                       :
                  v.                                 : Hearing Date: 11/05/2019
LAYTH F. ABDELQADER                                  :
                  and                                : Hearing Time: 10:00 AM
 JEFFREY J. SIKIRICA (TRUSTEE)                       :
                        Respondents                  : Objection Date: 10/24/2019
                                                     :


                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY




                                    /s/ Robert P. Wendt, Esquire
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October 4, 2019
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    MOTION OF LAKEVIEW LOAN SERVICING, LLC FOR RELIEF FROM THE
 AUTOMATIC STAY UNDER §362 PURSUANT TO BANKRUPTCY PROCEDURE RULE
                                4001

               Movant, by its attorney, Phelan Hallinan Diamond & Jones, LLP hereby requests a

termination of the Automatic Stay and leave to foreclose on its mortgage on real property owned by

Debtor.

               1.     Movant is LAKEVIEW LOAN SERVICING, LLC.

               2.     Debtor, LAYTH F. ABDELQADER, is the owner of the premises located at

1011 STOCKTON RDG, CRANBERRY TOWNSHIP, PA 16066, hereinafter known as the

mortgaged premises.

               3.     Movant is the holder of a mortgage, original principal amount $143,355.00 on

the mortgaged premises, that was executed on April 30, 2018.

               4.     Movant instituted foreclosure proceedings on the mortgage because of Debtor's

failure to make the monthly payment required thereunder.

               5.     As of September 24, 2019, the principal balance owed on the loan is

$142,411.72.

               6.     Interest in the amount of $6,439.13 has accrued since the application of the last

payment received from the Debtor.

               7.     In addition, the following charges, fees and costs have been added to the

balance of the loan and are due and owing to Movant: Accrued Late Charges in the amount of
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$169.26, Pro Rata MIP/PMI in the amount of $97.32, Escrow Advance in the amount of $3,688.59,

One Time Draft Fees in the amount of $5.00, Non-sufficient Funds (NSF) Fees in the amount of

$15.00, and Foreclosure Fees and Costs in the amount of $5,585.04, which consists of the following

charges: Filing fees and court costs in the amount of $183.75, Service Costs in the amount of $356.29,

Attorney Fees in the amount of $2,115.00, Sheriff Fees in the amount of $2,500.00, Title Costs in the

amount of $365.00, and Writ of Execution/Judgment Costs in the amount of $65.00.

               8.     As of September 24, 2019, the payoff due on the mortgage is $158,411.06.

               9.     Debtor has failed to tender payments for the months of October 2018 through

August 2019. The monthly payments for October 2018 through December 2018 are $1,056.03 each,

the monthly payments for January 2019 is $1,054.05, the monthly payments for February 2019

through September 2019 are $1,055.92 each, with Accrued Late Charges in the amount of $169.26,

One Time Draft Fees in the amount of $5.00, Non-sufficient Funds (NSF) Fees in the amount of

$15.00, and Foreclosure Fees and Costs in the amount of $5,585.04, which consists of the following

charges: Filing fees and court costs in the amount of $183.75, Service Costs in the amount of $356.29,

Attorney Fees in the amount of $2,115.00, Sheriff Fees in the amount of $2,500.00, Title Costs in the

amount of $365.00, and Writ of Execution/Judgment Costs in the amount of $65.00. The next

payment is due on or before October 1, 2019 in the amount of $1,055.92.

               10.    As of September 24, 2019, the amount necessary to reinstate the loan is

$17,389.75.

               11.    Movant, LAKEVIEW LOAN SERVICING, LLC request that the Court award

reimbursement in the amount of $931.00 for the Attorney fees and costs associated with this Motion.

               12.    The fair market value of the premises is $146,000.00 based on the Debtor's

Schedule A/B: Property. A copy of the Debtor's Schedule A/B: Property is attached hereto as Exhibit

"A" and made a part hereof.

               13.    As per the Debtor's Statement of Intention, dated July 31, 2019, the Debtor

plans to surrender the property. A copy of the Debtor's Statement of Intention is attached hereto as
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Exhibit ''B'' and made a part hereof.

                14.     PA Child Support Program may have a junior lien on the mortgaged premises.

                15.     There are no liens on the premises that are senior to Movant's lien.

                16.     The foreclosure proceedings were stayed by the filing of the instant Chapter 7

Petition.

                17.     The Debtor has no equity in the premises.

                18.     Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

                19.     Movant specifically requests permission from the Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.

                20.     Respondent, JEFFREY J. SIKIRICA, Esquire, is the Trustee appointed by the

Honorable Court

                WHEREFORE, Movant respectfully requests that this Court enter an Order;

                a.      Modifying the Automatic Stay under 11 U.S.C. Section 362 of the Bankruptcy

Code with respect to the mortgaged premises as to permit the Movant, its successors or assignees, to

foreclose on its mortgage or take any legal or consensual action enforcement of its right to possession

of, or title to, said premises (such actions may include but are not limited to the signing of a deed in

lieu of foreclosure or entering into a loan modification agreement) and to allow the purchaser of said

premises at Sheriff's Sale (or purchaser's assignee) to take any legal or consensual action for
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enforcement of its right to possession of, or title to, said premises; and

              b.    Granting any other relief that this Court deems equitable and just.

                                           /s/ Robert P. Wendt, Esquire
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October 4, 2019
